              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
                       Plaintiff,        )
                                         )
        vs.                              )     No. 12-03009-06-CR-S-DW
                                         )
JASON GREEN,                             )
                                         )
                       Defendant.        )


                       REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY


        The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Counts One and Four and admitted to

Forfeiture Allegation contained in the Second Superseding Indictment

filed on August 28, 2013.         After cautioning and examining the

Defendant under oath concerning each of the subjects mentioned in

Rule 11, I determined that the guilty pleas were knowledgeable and

voluntary, and that the offenses charged are supported by a factual

basis for each of the essential elements of the offense.          I therefore

recommend that the pleas of guilty be accepted and that the Defendant

be adjudged guilty and have sentence imposed accordingly.



Date:     September 19, 2013              /s/ James C. England
                                         JAMES C. ENGLAND
                                         UNITED STATES MAGISTRATE JUDGE




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                                NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




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